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- FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATEs oF AMERICA, *
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Plamuff, * cnm. No. 02-20448-1)%£?§§) § §jj§…§§H*S
vs. *
JoHN E. MADIsoN, sR., and *

WILLIEANN D. MADISON,

Defendants.
sk

 

SCHEDULING ORDER ON PETITION TO DETERMINE INTEREST IN FORFEITED
PROPERTY FILED BY MEMPHIS FIRST COMMUNITY BANK

 

The Court imposes the following Scheduling Order for disposing of the Petition To
Determine lnterest In Forfeited Property filed by Third-Party Intervenor Memphis First
Cornmunity Bank:

1. All discovery shall be completed no later than OCtober 12, 2005.

2. All dispositive motions shall be filed no later than November l4, 2005.

3. Response to any dispositive motion shall be filed no later than November 30,
2005.

4. A hearing on dispositive motions and/or the Petition shall be held on December

15, 2005 at 1:30 p.m.

IT IS SO ORDERED

.S District Ju e

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 467 in
case 2:02-CR-20448 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Allan J. Wade

ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Lori Hacklernan Patterson
ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Brandy S. Parrish
ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Mitzi H. Spell
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/lemphis7 TN 38103

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Michelle L. Betserai
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/lemphis7 TN 38103

Tony L. AXam

LAW OFFICE OF TONY L. AXAM
1280 W. Peachtree St.

Ste. 3 10

Atlanta, GA 30309

Honorable Bernice Donald
US DISTRICT COURT

